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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 UNITED STATES OF AMERICA                        §

 Vs.                                             §           CRIM. ACTION NO. 6:14CR13(5)

 KARL DWAYNE UNDERWOOD                           §



             ORDER ADOPTING THE REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE


        The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

 Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

 adjudge Defendant as guilty of a lesser included charge of Count 1 of the Indictment filed against

 Defendant in this cause.

        In open court at the plea hearing on June 17, 2014, the parties waived their right to object

 to the magistrate judge’s findings.      The Court is of the opinion that the Report and

 Recommendation should be accepted. It is accordingly

        ORDERED that the Report and Recommendation of the United States Magistrate Judge

 is ADOPTED. It is further




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        ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence

     . It is finally
 report.

        ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of Count 1 of the Indictment in the above-numbered cause—to wit: conspiracy to

 possess with intent to deliver less than 50 grams of a mixture or substance containing a

 detectable amount of methamphetamine—and enters a JUDGMENT OF GUILTY against the

 Defendant as to Count 1 of the Indictment.

        SIGNED this 21st day of June, 2014.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




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